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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF LOUISIANA
                      ~EW ORLEANS DIVISION

IN RE: FEMA TRAILER                         MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION                 SECTION "N-4"
                                            JUDGE ENGELHARDT
                                             M_/kG. JUDGE ROBY




        DEFENDANT UNITED STATES OF AMERICA’S EXHIBITS
    IN SUPPORT OF ITS MOTION TO DISMISS PLAINTIFFS’ FTCA AND
   CONTRACT CLAIMS FOR LACK OF SUBJECT MATTER JURISDICTION




                           U.S. EXHIBIT NO. 7
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                                    FEMA09-000331




         FEMA

 FEMA Infrastructure Funds Surpass $10 Billion Mark For Gulf Coast
.Recovery
Release Date: April 9, 2008 ’
Release Number: 1603-781

  More Information on Louisiana Hurricane Katrina
  More Information on Louisiana Hurricane Rita

NEW. ORLEANS, La. -- Financial assistance to state and local governments to help repair or replace infrastructure
throughout the Gulf coast damaged by Hurricanes Katrina and Rita has topped the $10 billion mark, according to
officials at the U.S. Department of Homeland Security’s Federal Emergency Management Agency (FEMA).

The money has been obhgated to the states of Texas, Louisiana, Mississippi and Alabama on behalf of state and
local governments through FEMA’s Public Assistance program for a variety of repair and reconsflalction projects,
like damaged schools, roads, utilities and reconstituting other critical infrastructure.

!’This is an unprecedented funding level in our nation’s history of responding to natural disasters," said Jim Stark,
Acting Associate Deputy AdlNnistrator for FEMA’s Gulf Coast Recovery Office. "Over the past 30 months FEMA
has funded more than 74,500 projects across these four states and has worked hard to be a strong partner with states
and local governments in restoring their communities."

Through the Public Assistance program, FEMA reimburses state and local governments, and certain ehgible private
nonprofit organizations for the approved costs associated with repairing or replacing disaster-damaged
infrastructure. Eligible projects include damaged roads and bridges, water control facilities, public buildings and
their contents, publicly owned utilities and parks and recreation areas. The Public Assistance Program also ftmds
eligible costs associated with debris removal and emergency protective measures related to the disaster.

The Gulf Coast Recovery Office website provides maps with detailed information about the infrastructure repair and
rebuilding projects across the Gulf Coast. These maps allow you to sort by types of projects, and view them across
the Gulf, by State, community, and even neighborhood. FEMA continually makes enhancements and adds more
information to the site, so we invite you to visit the recovery maps @ www.fema.gov/gcro.

Public Assistance ftmds disbursed to each state are as follows:

Alabama - $115 million
Louisiana - $6.37 billion
Mississippi - $2.62 billion
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                                   FEMA09-000332




Texas - $925 million

FEMA coordinates the federal government’s role in preparing for, preventing, mitigating the effects of, responding
to, and recovering from all domestic disasters, whether natural or man-made, including acts of terror.
